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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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UNITED STATES OF AMERICA                                      :

             -v.-                                             :      S7 22 Cr. 673 (LAK)

RYAN SALAME,                                                  :

                         Defendant.                           :

---------------------------------------------------------------x




                    THE GOVERNMENT’S SENTENCING MEMORANDUM




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       The Government respectfully submits this memorandum in advance of the sentencing of

Ryan Salame, presently scheduled for May 28, 2024, and in response to the defendant’s sentencing

memorandum dated May 14, 2024 (“Def. Mem.”).

                                PRELIMINARY STATEMENT

       From 2019 until November 2022, Ryan Salame was a high-ranking executive, first at

Alameda Research (“Alameda”) and then at FTX.com (“FTX”), during which time he assisted

Samuel Bankman-Fried in perpetrating aspects of the interrelated frauds that Bankman-Fried

carried out at both companies. Salame, who Bankman-Fried prized for loyalty and served many

different roles for Bankman-Fried’s empire, committed two serious crimes to foster the growth of

FTX and burnish Bankman-Fried’s image: he helped lead efforts to allow customers to send and

receive fiat currency to fund their FTX accounts through U.S.-based bank accounts without

complying with federal registration requirements; and he acted as a straw donor to help pump more

than $100 million dollars in illegal contributions through the U.S. political system to help support

Bankman-Fried and FTX’s legislative priorities. The campaign finance offense is one of the

largest-ever in American history, and the unlicensed money transmitting business exchanged more

than $1 billion without proper supervision. Those are serious crimes, and a substantial sentence is

required to ensure that Salame receives just punishment. General deterrence is also particularly

important in this closely watched case. Would-be violators of the campaign finance laws must

understand that these are not minor offenses. And players in the crypto industry, who are serial

offenders of the money transmission laws, must understand that they disregard the registration

requirements at their peril. Only a meaningful period of incarceration could adequately deter the

defendant and others, and promote respect for the law. For these reasons, the relevant sentencing

factors require an aggregate sentence within the range of five to seven years’ imprisonment.
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                                  FACTUAL BACKGROUND

        Salame began working at Alameda in 2019, and moved over to become CEO of FTX

Digital Markets, FTX.com’s Bahamian affiliate, in 2021. Salame was a loyal and trusted high-

level associate of Bankman-Fried. As Caroline Ellison testified at trial, Bankman-Fried “really

valued Ryan for his loyalty.” (Tr. 690) (Ellison testimony). 1 Because of his loyalty to Bankman-

Fried, and his leadership roles as the head of the Settlements Team at Alameda and then CEO of

FTX Digital Markets, the defendant was involved in critical and varied roles and decisions at the

companies throughout his tenure. For instance, he was relied upon to integrate FTX into the

Bahamas (Def. Mem. at 9), and he spoke to Caroline Ellison about ways to retrieve funds from

cryptocurrency exchanges in China that had frozen Alameda accounts (Tr. 830) (testimony from

Ellison). 2

        While he was not directly involved in perpetrating the $8 billion fraud on FTX’s customers,

he nonetheless willingly assisted Bankman-Fried in committing other serious crimes to further

FTX’s and Bankman-Fried’s interests. As he admitted in connection with his guilty plea on

September 7, 2023, he conspired to defraud the United States and to willfully violate the Federal

Election Campaign Act, and conspired to operate an unlicensed money transmitting business. As

part of his guilty plea, the defendant also agreed to be held responsible in connection with

sentencing for conspiring to make false statements to banks as part of the unlicensed money

transmitting business; willfully making an excessive political contribution to a candidate for



1
  Salame himself cites excerpts of testimony during Bankman-Fried’s trial, and a Court may
consider a co-defendant’s trial record when sentencing a defendant who pled guilty. See United
States v. Romano, 825 F.2d 725, 729 (2d Cir. 1987); United States v. Babilonia, 687 F. App’x 63
(2d Cir. 2017).
2
  The Government does not have evidence that Salame was involved in criminal conduct related
to this incident.

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federal office in 2022; and fraudulently misappropriating property of the FTX bankruptcy estate

and then subsequently spending those proceeds from November 2022 through January 2023.

       This criminal conduct was motivated by, among other things, greed. While Bankman-Fried

and other FTX employees purported to follow the philosophy of effective altruism, Salame had

more traditional motivations: he sought money and influence. He earned millions of dollars at

Alameda and FTX, (Presentence Investigation Report (“PSR”) ¶ 88), and the value of his holdings

on FTX at some point were worth hundreds of millions of dollars, at least on paper. He spent that

money purchasing homes, cars (PSR ¶ 92), restaurants in Lenox, Massachusetts (Def. Mem. at

11), and other luxury items.

       A. Unlicensed Money Transmission and False Statements to Banks

       When FTX was first established in 2019, its founder Sam Bankman-Fried wanted to appeal

to many different types of cryptocurrency customers: not only customers who already had

purchased cryptocurrency from another exchange or wanted to withdraw cryptocurrency from

FTX, but also customers seeking to buy cryptocurrencies using fiat currency or vice versa. In order

to do that, FTX needed to obtain bank accounts to receive and send customer fiat currency. (PSR

¶ 23). However, in 2019 and 2020, U.S. banks were generally reluctant to open accounts for

cryptocurrency companies, particularly exchanges, because it is illegal for a cryptocurrency

company operating in the United States to receive and send fiat currency without obtaining the

appropriate license from the Department of Treasury and complying with federal anti-money

laundering requirements. See, e.g., United States v. Murgio, 209 F. Supp. 3d 698, 705-07

(S.D.N.Y. 2016), conviction aff’d, 32 F.3d 40, 49 (2d Cir. 2019); (PSR ¶ 23–24).

       Salame joined Alameda in 2019. (PSR ¶ 52). He ultimately rose to be head of the

“Settlements Team.” In order to satisfy Bankman-Fried’s desire to allow transactions in fiat, at



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FTX’s inception, instead of opening an account at a bank in FTX’s name, which would have

required obtaining such a money transmission license and complying with related rules, FTX

simply used preexisting bank accounts in the name of Alameda Research. (PSR ¶ 25). The

Settlements Team, which Salame oversaw, was responsible for managing the fiat-to-crypto process

for FTX customers: employees assigned to the Settlements Team were tasked with manually

tracking customer fiat deposits and withdrawals sent to or from the applicable Alameda bank

accounts and crediting or debiting that customer’s FTX account with the appropriate amount of

funds via an internal ledger system. (PSR ¶ 52). When deposited, customers could use these funds

on FTX’s suite of products, and FTX charged fees and generated revenues from many of these

activities. (PSR ¶ 31). But Alameda employees never informed the applicable banks that the

accounts were now being used not only for Alameda’s purposes, but also for customer deposits

and withdrawals on FTX. Indeed, in May 2020, an employee at Signature Bank, where Alameda

had a bank account, asked about a transfer received from an FTX customer. With Salame’s

knowledge, an Alameda employee responded falsely that the transfer was actually related to

Alameda. (PSR ¶ 28).

       Over time, however, banks began to reject many of the wires sent to the Alameda accounts.

In October 2019, Salame, Bankman-Fried, and others tried to formally open a bank account at

Silvergate Bank to transmit fiat currency to and from FTX customers. But the bank did not agree

to open such an account, stating that it required information that FTX.com was licensed and

registered, including registration with the Department of Treasury, and that even with such

registration, Silvergate would first conduct an enhanced due diligence process before opening an

account used to process customer deposits and withdrawals. FTX.com was not at that time, and

never was, properly licensed and registered in the United States. (PSR ¶ 26).



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       Instead of complying with the bank’s instruction, in or about August 2020, Bankman-Fried

directed the incorporation of a new U.S.-based entity, North Dimension. (PSR ¶ 29). Bankman-

Fried and others chose the name “North Dimension,” in part to conceal from the banks where

North Dimension opened accounts that there was a relationship between North Dimension,

Alameda, and FTX. (PSR ¶ 29). 3 In the fall of 2020, Alameda employees falsely claimed to

Silvergate Bank that North Dimension sought to open an account to facilitate North Dimension’s

trading; these false statements were designed to evade the bank’s prior instructions that it would

only open an account for onboarding and off-boarding FTX customer fiat if the exchange was

properly licensed in the United States and passed the bank’s enhanced diligence. (PSR ¶ 30). The

account application submitted to the bank on behalf of North Dimension included false statements

about the purpose of the North Dimension account, and the due diligence questionnaire which

Bankman-Fried signed also included false statements about North Dimension. (PSR ¶ 30). 4 At no

point did North Dimension have actual operations; it was only used to open the bank account and

exchange FTX customer fiat. North Dimension also did not obtain a money transmitting license

from the Department of Treasury.

       In April 2021, Silvergate Bank approved the opening of the North Dimension account,

without a money transmitting license, enhanced due diligence or review by the bank’s executive


3
  Salame objects that he had no role in choosing the name North Dimension. (Def. Mem. at 16).
The Government’s evidence indicates that around or before the period in which North
Dimension was incorporated, Salame told others about the new entity including its name,
indicating that he was involved in that decision.
4
  Salame objects that he did not direct the specific false statements relayed to Silvergate Bank.
(Def. Mem. at 16). The Government’s evidence indicates that Salame was a participant in
communications where the specific false statements were discussed as they were being prepared
to be submitted to Silvergate Bank. Regardless of whether he directed specific false statements,
in his sentencing submission, Salame does not dispute the core fact that he did learn of the false
statements to the Bank and did nothing to correct them. (Def. Mem. at 16).


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committee. (PSR ¶ 30). Once the North Dimension bank account was opened, FTX.com directed

customer dollar deposits to that account. (GX-568) (wire instruction on FTX website instructing

customers to send fiat to the North Dimension account). Thereafter, the Settlements Team would

make the internal notations to credit or debit funds to customers on their FTX account. When

customers withdrew fiat from their FTX accounts, FTX employees sent those withdrawals by wire

transfer from the North Dimension bank account; by no later than the summer of 2021, the platform

charged a fee for such withdrawals. (PSR ¶ 31).

       As the head of Settlements in 2021, Salame oversaw this credit and debit process through

the North Dimension account. In the period from when North Dimension was opened until when

Salame left Alameda in the fall of 2021, the North Dimension account at Silvergate Bank was the

primary means by which customers of FTX.com onboarded fiat currency, and customers deposited

or withdrew more than $1.5 billion in the account. 5 (PSR ¶ 32). Over the entire period in which

North Dimension was the primary means for fiat conversion, it processed more than $5 billion.

(PSR ¶ 32 n.1).

       Many customers took advantage of this fiat “on-ramp” and “off-ramp,” which was an

important competitive advantage that FTX enjoyed over other crypto exchanges. Some

cryptocurrency derivative platforms only accepted or allowed withdrawals of cryptocurrency, but

by using the North Dimension account FTX allowed its customers to buy or sell cryptocurrency

directly, which meant that it was easier for customers with no prior experience with cryptocurrency



5
  Salame mentions at times that the “government has proffered that deposits to Alameda and
North Dimension accounted for only $10 million.” (Def. Mem. at 7 n.5). This appears to be a
product of miscommunication with defense counsel. In fact, during the period when Salame was
running Settlements and the North Dimension account was active, from April 2021 until August
2021, the North Dimension account received more than $600 million in customer deposits and
sent more than $900 million for customer withdrawals. This is the basis of the offense amount in
the Guidelines Range to which Salame agreed in the plea agreement.

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to use FTX than to use competing exchanges that did not have unlicensed fiat currency-depositing

mechanisms.

       B. Unlawful Political Contributions through Alameda

       In the fall of 2021, Salame transferred from Alameda to become the CEO of FTX’s

Bahamian affiliate, FTX Digital Markets. Beginning around this time through the 2022 mid-term

elections, Salame, Bankman-Fried, and Nishad Singh made a total of more than $100 million

dollars in campaign contributions to politicians in both parties. These contributions were made to

improve Bankman-Fried and Salame’s personal standing in political corridors, increase FTX’s

profile, and curry favor with candidates that could help pass legislation favorable to FTX,

including legislation concerning regulatory oversight over FTX and its industry, as well as

legislation related to other causes favored by Bankman-Fried and his co-conspirators. These

contributions were made through unlawful means. The contributions were paid for with Alameda

corporate funds (at least some of which had been stolen from FTX’s customers). The true source

of the funds used to make the contributions was concealed by having Salame and Singh serve as

conduit contributors or straw donors. Specifically, money was transferred from Alameda to

Singh’s or Salame’s bank accounts to pay for donations to political campaigns. The use of the

straw donors allowed Bankman-Fried to evade contribution limits for dozens of individual

donations to candidates to whom Bankman-Fried had already donated.

       Bankman-Fried was the mastermind of the scheme. While he was interested in supporting

candidates of both major political parties and across the political spectrum, he did not want to be

known as a left-leaning partisan, or to have his name publicly attached to Republican candidates.

(PSR ¶ 18). In order to obscure Bankman-Fried’s association with certain contributions, those

contributions were made in the names of Salame and Singh, instead of Bankman-Fried or



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Alameda. (PSR ¶ 18). Salame explained the scheme plainly to a confidant: “Sam wants to donate

to both democtratic [sic] and republican candidates in the US but cause the worlds frankly lost its

mind if you dontate [sic] to a democrat no republicans will speak to you and if you donate to a

republican then no democrats will speak to you.” (PSR ¶ 18); (GX-505). Salame would be the face

of the Republican donations, with Bankman-Fried “rout[ing] money through me,” with the

intention of “heavily putting money to weed out anti crypto dems for pro crypto dems and anti

crypto repubs for pro crypto repubs.” While Bankman-Fried was particularly featured in the media,

he was not the only conspirator to gain power and influence. Salame also enjoyed the fruits of the

donations scheme. As he acknowledges, his huge donations granted him access to meetings with

powerful political figures, including United States Senate and United States House of

Representatives leaders. (Def. Mem. at 11).

       Between in or about the fall of 2021 and the November 2022 election, Salame, Bankman-

Fried, and Singh collectively made tens of millions of dollars in contributions, including in “hard

money” contributions, to federal candidates from both major political parties. (PSR ¶ 19). The

money used to make these political donations or to compensate for donations made by credit card

originated from Alameda or FTX bank accounts. (PSR ¶ 19). Notwithstanding his awareness of

the campaign finance laws, in order to conceal the true source of the funds, Salame agreed with

others that the contributions would be transferred from Alameda’s bank accounts to bank accounts

in his, Singh, or Bankman-Fried’s name, and then from those individuals’ bank accounts to the

relevant campaigns. (PSR ¶ 19).

       To further conceal the scheme, the outgoing wire transfers from Alameda to the bank

accounts were recorded as Alameda “loans” or “expenses.” (PSR ¶ 20). Unlike other loans that

were made to FTX executives, most (but not all) of these outgoing wire payments were not



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documented in agreements or on term sheets, and there were no set interest rates, no interest

payments, no collateral, and no evidence of repayment. (PSR ¶ 20).

       In total, Salame and his co-conspirators made over 300 political contributions, totaling tens

of millions of dollars, that were unlawful because they were made in the name of a straw donor or

paid for with corporate funds. (PSR ¶ 21). This also allowed the donors to evade contribution limits

on individual donations to candidates to whom they had already donated. (PSR ¶ 21). As a result

of this fraudulent conduct, Salame and his co-conspirators also caused false information to be

reported by campaigns and PACs to the Federal Election Commission, which had the result of

impairing and impeding the FEC’s reporting and enforcement functions.

       C. Other Unlawful Political Contributions

       Salame engaged in other unlawful political donations. In June 2022, Salame donated the

maximum allowed amount to support the Congressional campaign of a close associate. (PSR ¶

33). Even though he had already made the maximum individual contribution, and was barred by

law from making additional contributions to the candidate, Salame continued to wire hundreds of

thousands of dollars to the associate, which the associate immediately wired into the associate’s

Congressional campaign account. (PSR ¶ 34). This included over $200,000 sent after the associate

lost in the primary, to assist in retiring outstanding debts the associate owed. (PSR ¶ 35). These

payments far exceeded the applicable contribution limit, and were thus illegal. (PSR ¶ 36). To

conceal what he was doing, the payments were made to the associate’s personal account (not their

campaign account), and were not reported to the FEC.

       D. Transfers from FTX in November 2022

       While Salame did not have contemporaneous knowledge of Bankman-Fried’s theft of

billions of dollars of customer funds, he, like many others at FTX, began to learn the truth soon



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after Alameda’s balance sheet was leaked to and then published by CoinDesk on November 2,

2022. (PSR ¶ 37). When FTX began experiencing huge customer outflows around November 6,

2022, Salame was involved in the efforts to try to staunch the bleeding and raise necessary funds.

On November 6 and 7, he recognized there was a meaningful chance FTX would go bankrupt, and

even told an associate on November 7 that FTX needed more than one billion dollars to meet

ongoing and accelerating customer withdrawals. (PSR ¶ 37).

       Despite this knowledge, Salame acted in his own interest that day. At about 8:30 P.M. on

November 7, 2022, Salame withdrew more than $5 million in cryptocurrency from an account he

controlled on FTX.com to a crypto wallet. (PSR ¶ 38). He tried to withdraw tens of millions more

that evening, but the withdrawals failed. 6 Over the next few days, Salame was a party to additional

conversations about FTX’s doomed position, some of which raised the implication that Bankman-

Fried had committed a massive fraud. (PSR ¶ 38). On the morning of November 9, 2022, Salame

learned that FTX’s US affiliate FTX.US was also affected and had a deficit of $45 million in funds;

one senior FTX.US executive recommended shutting down all trading calling the deficit a “tier 1

fire at any financial institution.” (PSR ¶ 39). Salame nonetheless withdrew nearly $600,000 in

cryptocurrency from his account at FTX.US on November 11, 2022, hours before the bankruptcy.

(PSR ¶ 40).

       FTX and FTX.US declared bankruptcy on November 11, 2022. Despite the bankruptcy and

the public revelation that Bankman-Fried had been stealing customer funds, Salame spent millions

of dollars from the more than $5 million he had transferred from FTX to himself on November 7.

Among other things, he spent the money on hiring a public relations firm and paying off personal



6
  As the Court knows from Mr. Bankman-Fried’s trial, the huge number of customer withdrawal
requests led to backlog and delay.


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credit card expenses, including a $20,000 charge at Restoration Hardware that he incurred after

the bankruptcy. (PSR ¶ 41). 7

                                    PROCEDURAL HISTORY

         On September 7, 2023, Salame self-surrendered, waived indictment, and consented to the

filing of the S7 Information. That Information charges him in two counts. Count One charges

him with conspiracy to make unlawful political contributions and defraud the Federal Election

Commission, in violation of 18 U.S.C. § 371 and 52 U.S.C. §§ 30118, 30109, 30122. Count Two

charges conspiracy to operate an unlicensed money transmitting business, in violation of 18 U.S.C.

§§ 371 and 1960. Salame pleaded guilty to both counts pursuant to a plea agreement, and was

ordered bailed. In the plea agreement, the defendant agreed to entry of a forfeiture money judgment

of more than $1 billion, which obligation the Government has agreed will be satisfied if the

defendant pays $6 million dollars and the Government successfully forfeits specific property

turned over by the defendant. The defendant has also agreed to pay $5,593,177.91 to the debtors

of the FTX estate in restitution. All payments are to be made by the date of sentencing.

                    APPLICATION OF THE SENTENCING GUIDELINES

         Consistent with the plea agreement, Probation has calculated an offense level of 40, as

follows:

         •   Pursuant to U.S.S.G. §3D1.2(d), Counts One and Two are grouped because the offense

             level is determined largely on the basis of the total amount of harm or loss. (PSR ¶ 54).

         •   Pursuant to USSG § 3D1.3(b) and Application Note 3, the Guidelines applicable to the

             offenses charged in Counts One and Two are U.S.S.G. §§ 2X1.1 and 2C1.8 because




7
    Salame did not transfer the $600,000 he had moved from FTX.US on November 11, 2022.

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           those Guidelines, which are applicable to Count One, produce the highest offense level.

           (PSR ¶ 54).

       •   Pursuant to U.S.S.G. § 2X1.1(a), the base offense level is determined from the

           guideline for the substantive offense, plus any adjustments from such guideline for any

           intended offense conduct that can be established with reasonable certainty.

       •   Pursuant to U.S.S.G. § 2C1.8, the base offense level is 8. (PSR ¶ 55).

       •   Pursuant to U.S.S.G. § 2C1.8(a), because the value of the illegal transactions exceeded

           $6,500, the offense level is increased by the number of levels in the 2B1.1 table. Salame

           is responsible for more than $100,000,000 in illegal campaign contributions, and over

           $1 billion for the operation of the money transmitting business, meaning 30 levels are

           added under U.S.S.G. § 2B1.1(b)(1)(P). (PSR ¶ 56).

       •   Pursuant to U.S.S.G. § 2C1.8(b)(4), because Salame and his co-conspirators made at

           least 30 illegal transactions as part of the crime, two levels are added. (PSR ¶ 57).

       •   Pursuant to U.S.S.G. §3B1.1(b), because Salame managed and directed others in the

           unlicensed money transmitting, which involved five or more participants or was

           otherwise extensive, three levels are added. (PSR ¶ 59).

       •   Pursuant to U.S.S.G. §3E1.1, because the defendant accepted responsibility, three

           levels are removed. (PSR ¶ 60).

       The defendant’s criminal history score is zero, which puts him in Criminal History

Category I. (PSR ¶ 68). Based upon these calculations, Salame’s advisory Guidelines range is 292

to 365 months’ imprisonment. (PSR ¶ 96). However, because the statutorily authorized maximum

sentence is 10 years’ imprisonment, the applicable Guidelines sentence is 10 years’ (120 months’)

imprisonment. U.S.S.G. §§ 5G1.1(a), 5G1.2(d).


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       The Probation Office recommends a sentence of 120 months’ imprisonment. (PSR at 38).

Its recommendation focuses on the serious offense conduct, the large amounts of money involved,

and the need for general deterrence. (PSR at 39–40).

  A SENTENCE OF FIVE TO SEVEN YEARS’ IMPRISONMENT IS APPROPRIATE

       As the Court knows well, a criminal sentence must be crafted to reflect the seriousness of

the offense, promote respect for the law, provide just punishment, deter future criminal conduct

by the defendant and others, and avoid unwarranted disparities among similarly situated

defendants. 18 U.S.C. § 3553(a). The “starting point” in making any sentencing determination

remains the United States Sentencing Guidelines. Gall v. United States, 552 U.S. 38, 49 (2007).

Here, the offense level is well beyond the applicable statutory maximum, which results in an

advisory Guidelines sentence equal to the combined statutory maximum sentences for the

defendant’s crimes of conviction, ten years. See U.S.S.G. § 5G1.2(d).

       In light of the defendant’s serious crimes, which were designed to undermine the integrity

of the U.S. campaign finance system and the U.S. financial system, a substantial term of

incarceration, well above the 18 months’ he requests, is required. The defendant’s assertion that

his crimes were intended only to help FTX and the cryptocurrency industry more generally are not

mitigating and also belied by the evidence, which indicates that the defendant personally benefited

in numerous ways from his criminal actions. Only a substantial incarceratory sentence could

appropriately reflect the nature and seriousness of his conduct and afford adequate deterrence. In

light of the sentencing factors discussed below, the Government respectfully requests that the

Court impose an aggregate sentence within the range of five to seven years’ incarceration, for both

offenses.




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I.     The Nature, Circumstances, and Seriousness of the Offenses

       A substantial sentence is needed because the defendant played a critical role in two

serious crimes while working at Alameda and FTX, and committed other relevant conduct during

his employment there. His crimes and misconduct merit such a sentence because they

undermined public trust in American elections, the financial system, and, contrary to his claims

now, were often motivated by his own financial interests.

       First, the defendant’s offense threatened to dramatically undermine ordinary voters’ faith

in the integrity and fairness of American elections. The vast scope of this campaign finance

offense is overwhelming. The defendant and his co-conspirators deployed over $100 million in

illegal donations as part of their effort to influence the 2022 mid-term elections. No campaign

finance crime of that scale has been attempted in this country’s history. The defendant has not

masked his motive: he and Bankman-Fried wanted to support candidates that they perceived as

more favorable to the cryptocurrency industry. (Def. Mem. at 10) (Salame “formed GMI, a

nonpartisan political action committee [] focused on supporting pro-crypto candidates from both

major parties running for House and Senate seats. The PAC aimed to increase support for

cryptocurrency without regard to political affiliation.”). In 2021 and 2022, when the defendant

committed this crime, there were serious political disputes in Washington, D.C., about how

cryptocurrency and related products should be regulated – including whether certain

cryptocurrencies were securities, whether the SEC or the CFTC was the best regulator of crypto,

and whether crypto exchanges should be able to offer margined derivative products to retail

customers.

       Instead of trying to win those debates through reasoned means, Salame and Bankman-

Fried took a massive, secretive shortcut, using corporate funds and straw donors to pour tens of

millions of dollars to unlawfully support politicians they believed to be crypto-friendly. Using

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straw donations in this manner undermines election transparency, and Salame’s election crimes

are particularly serious for their damaging consequences on the public perception of electoral

politics. As Judge Oetken described at a sentencing for campaign finance offenses, described in

more detail below, “[a]ny time there’s a violation of these campaign prohibitions, the integrity of

our electoral system is undermined and compromised. It adds to cynicism in the eyes of the

public and to the perception that the system may be corrupt. Our democracy is fragile. It depends

on people believing in it. And this type of criminal conduct threatens that belief and the

legitimacy of our system.” United States v. Fruman, 19 Cr. 725 (JPO), Dkt. No. 301 at 20; see

also United States v. Pan, 12 Cr. 153 (RJS), Dkt. 204 at 31 (“the damage done” by illegal

campaign contributions “in adding to what could fairly be characterized as public cynicism over

this process is incalculable . . . it’s a very serious crime for that reason because it makes people

shrug and say the system is corrupt.”). The public reaction to the revelation of the crimes

committed by the defendant, Bankman-Fried, and Nishad Singh has borne out that concern, with

dozens of news stories reflecting how the offense undermined the trust of ordinary voters in the

political system.

       Second, Salame’s actions undercut appropriate regulation of the U.S. financial system.

Federal law prohibits the operation of unlicensed money transmitting businesses. That

prohibition exists to safeguard the financial system, both in the United States and around the

world, from illicit use, and to combat money laundering. Money transmitting businesses must

comply with federal law regarding the implementation of robust anti-money laundering checks to

ensure that they do not foster criminal activity, and they must identify for law enforcement

potential misconduct on their platforms by filing Suspicious Activity Reports (“SARs”). Through




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the defendant’s leadership of the Alameda Settlements Team, FTX evaded those requirements, 8

failed to file SARs when appropriate, and did so through deceit by making a series of false

statements to open and maintain the North Dimension and Alameda bank accounts. This is no

mere technical violation. It allowed FTX to grow quickly at the cost of imposing substantial

risks to U.S. banks given FTX’s lack of compliance with federal anti-money laundering rules.

       Third, the defendant’s crimes are serious because they were often motivated by his own

personal financial interests. While the defendant asserts that he personally believed in the

cryptocurrency policy and political candidates he supported (Def. Mem. at 21, 22), these aims

also aligned perfectly with FTX’s financial interests, and thus his own. Similarly, he argues that

he believed operating the unlicensed money transmitting “would only benefit FTX’s customers

. . . by offering a simpler way to onboard and offboard their fiat currency to the FTX platform.”

(Def. Mem. at 22). But the benefits to FTX’s customers also meant that FTX would continue to

grow, and faster, with material rewards to Salame. As described above, he earned millions of

dollars in income, flew on private jets around the world (Def. Mem. at A-2, letter from pilot of

private jet company who flew Salame), acted as hometown hero and bought restaurants in

Lenox, Massachusetts (Def. Mem. at 11), and his wealth allowed him to be feted as a potential

kingmaker in Washington, D.C. Had Salame and Bankman-Fried’s efforts to warp the regulatory

environment fully succeeded, FTX would have had a pathway to even greater growth in the

United States, further lining Salame’s pockets (while also dramatically expanding the scope of

Bankman-Fried’s fraud).




8
 During the relevant time period, FTX did have some anti-money laundering controls, but did
not comply with the panoply of obligations imposed by the Bank Secrecy Act.


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        Nor should the Court ignore the defendant’s conduct in November 2022. While Salame

did not know of Bankman-Fried’s theft of customer funds or the related dire financial condition

of FTX before November 2022, he withdrew a substantial amount of money upon learning of

such circumstances. Salame argues that when he did learn of those facts in November 2022, he

solely acted benevolently, informing Bahamian authorities and blowing the whistle. (Def. Mem.

at 15). But his November 2022 transfers also indicate that he acted in his own financial interests,

withdrawing and later spending millions of dollars that appropriately belonged to FTX’s

creditors.

II.     The Court Should Consider General Deterrence in Imposing Sentence

        A substantial sentence is required to send an appropriate message to others. As an initial

matter, white collar cases like this one “argue for punishing more heavily those offenses that

either are lucrative or are difficult to detect and punish, since both attributes go to increase the

expected benefits of a crime and hence the punishment required to deter it.” United States v.

Heffernan, 43 F.3d 1144, 1149 (7th Cir. 1994). It took FTX’s massive and high-profile collapse

to reveal the defendant’s crimes. A substantial sentence is required to deter others from engaging

in similarly insidious misconduct.

        With respect to the money transmitting charge, FTX was not the first company to operate

as an unlicensed money transmitting business exchanging traditional currency for crypto. As

described further below, this Office, and the Department of Justice more broadly, have

prosecuted numerous such cases, often resulting in meaningful periods of incarceration and

substantial financial penalties for those companies’ employees. This Court’s sentence of the

defendant will provide another warning sign to cryptocurrency companies operating in the U.S.

that they must comply with federal registration laws.



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       The Court should impose a substantial sentence for the defendant’s campaign offense as

well. As described above, there has been intense public focus on crimes committed at FTX,

including the unlawful donations conspiracy. The deterrent message of a substantial sentence

will resonate to wealthy individuals and companies seeking to pervert the electoral system to

their personal benefit, and hopefully indicate to American citizens how seriously government

officials take such violations. See United States v. Binday, 12 Cr. 152 (CM), Dkt. 349, at 46

(“Only if white collar crime is punished commensurate with the damage it inflicts on society will

citizens actually believe that the law metes out equal right to the poor and to the rich, which

words are the cornerstone of the judicial oath.”).

       The defendant asserts that the financial penalties, media scrutiny, and impact on his loved

ones are more than sufficient to deter others from offending in similar fashion. (Def. Mem. at

31). But the numerous and often high-profile cases brought by the Department of Justice against

cryptocurrency exchanges for violating the money transmitting laws, and against individuals who

commit campaign finance offenses, belie that simple conclusion. And regardless, the Second

Circuit has recognized that “the public humiliation suffered by one prosecuted and convicted of a

crime is an ordinary consequence of his conduct, not a condition imposed by the criminal codes

or the judicial process. These circumstances, though adverse, are not what § 3553(a)(2)(A)

means by ‘punishment.’” United States v. Cutler, 520 F.3d 136, 171 (2d Cir. 2008).

III.   A Substantial Sentence is Required to Afford Specific Deterrence

       A substantial sentence is also needed to protect the public and afford adequate deterrence

to the defendant.

       While FTX no longer exists, it is still necessary to consider the risk of recidivism here.

The defendant committed two serious crimes, and other forms of misconduct, while earning

millions of dollars and being cheered as a political power broker and hometown hero. Whatever

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the sentence the Court imposes, the defendant will still be a relatively young man when he is

released. Life is long, the news cycle moves on, and the defendant could once again be faced

with the opportunity to commit white collar crimes that he may view as having a low likelihood

of detection. United States v. Laguardia, 19 Cr. 893 (LAK) (S.D.N.Y. Aug. 31, 2021), Dkt. No.

116 (“It’s very easy sometimes, in a case like this, to say, well, look at all the trouble the

defendant has gotten himself into, look at the harm that’s been done to his family, look at the loss

he suffered himself, there is no way he’ll ever do something like this again, and maybe that’s

true in your case. I wish I were sure it were true. . . . in the case of someone who, at least when

they got into it, thought everything was going to work out fine? Maybe the next time temptation

comes along, you’ll think it will work out fine, too, and the bad outcome the first time was a

mistake.”). Indeed, while the defendant does accept responsibility for his offenses in his

sentencing letter, he also appears to shift some blame for his conduct to attorneys at FTX and

Alameda, as described below, raising the concern that in the future were a lawyer to appear to

authorize criminal conduct the defendant would simply go along with it.

       Salame argues that specific deterrence is unnecessary because of his efforts at

rehabilitation, the substantial financial penalties he has already paid and continues to face, the

highly public nature of this case, and the numerous laws that restrict felons. (Def. Mem. at 29–

31). But one conviction, even at a company as high-profile as FTX, does not ensure that a

defendant will comply with the law going forward, and the defendant has shown himself

enterprising and entrepreneurial such that he could again amass large sums of money even after

paying the applicable financial penalties.




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IV.    Comparator Cases Suggest the Defendant Should Receive a Sentence of Five to
       Seven Years’ Incarceration

       While as described the 3553(a) factors all weigh in favor of a substantial period of

incarceration, the Government does recognize that in this case, a sentence at the Sentencing

Guidelines of 10 years’ imprisonment would be too severe. Section 3553(a)(6) requires the Court

to consider “the need to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct.” While the Government believes that

FTX was one of the largest unlicensed money transmitters, and that the campaign finance

violation is among the largest by dollar value in U.S. history, defendants in relatively similarly

cases have all received shorter periods of incarceration than the Sentencing Guidelines here

would suggest. Based on the relevant comparator cases, as well as described herein the

defendant’s modest attempted cooperation, the Government respectfully submits that the Court

should impose a sentence of five to seven years’ imprisonment. Such a sentence would be below

the applicable Guidelines range, but would reflect the seriousness of the offense here relative to

other instances where defendants have engaged in unlicensed money transmission or committed

campaign finance offenses.

       In other unlicensed money transmission cases involving the exchange of fiat currency for

digital assets, courts have generally imposed sentences of a few years’ imprisonment, absent

indication that the defendant knew his or her business was being used for large-scale money

laundering or that he or she was committing other crimes like narcotics trafficking, money

laundering, bank fraud, or wire fraud. See, e.g., United States v. Marmilev, 13 Cr. 368 (S.D.N.Y.)

(DLC) (five year sentence for defendant who was Chief Technology Officer at digital currency

service Liberty Reserve); United States v. Chukharev, 13 Cr. 368 (S.D.N.Y.) (DLC) (three year

sentence for minor participant at Liberty Reserve); United States v. Shrem, 14 Cr. 243


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(S.D.N.Y.) (JSR) (two year sentence for defendant who was the CEO and compliance officer of

a Bitcoin exchange company); United States v. Lord, 15 Cr. 240 (W.D. La.) (46 months’

sentence for operating an unlicensed money services business in cryptocurrency); United States

v. Murgio, 15 Cr. 769 (S.D.N.Y.) (AJN) (66 months’ total sentence for defendant convicted of

operating an unlicensed money transmitting business and bank fraud, as well as other related

offenses); United States v. Tetley, 17 Cr. 738 (C.D. Cal.) (sentence of a year and a day for a

defendant who operated an unlicensed money services business and committed money

laundering through cryptocurrency); United States v. Fowler, 19 Cr. 254 (S.D.N.Y.) (ALC) (75

months’ sentence for defendant who operated an unlicensed money transmitting business for

cryptocurrency, as well as committed bank fraud and wire fraud); United States v. Rodriguez, 23

Cr. 20474 (S.D. Fla.) (57 months’ sentence for operating an unlicensed money services business

in cryptocurrency). 9

       The Chukharev example is particularly instructive. There, the defendant received a three-

year sentence for his minor role in the operation of the Liberty Reserve platform, which included

false statements to foreign authorities, despite the fact that Government agreed that unlike some

of his co-defendants, he was not “aware of the extensive criminal use of Liberty Reserve.” 13 Cr.

368, Dkt. Nos. 136, 139 (S.D.N.Y.). Salame is more culpable than that defendant, given that he

also made false statements to U.S. banks and received a leadership enhancement rather than a

minor-role adjustment.

       The defendant instead asserts that he should receive a de minimis sentence for the money

transmitting charge, and in doing so relies most heavily on Judge Koeltl’s recent sentences in the


9
  As described, many of these cases involved defendants convicted of unlicensed money
transmitting along with other offenses, like narcotics trafficking, money laundering, bank fraud,
or wire fraud, or who admitted that they knew their unlicensed money transmitting business was
laundering criminal proceeds.

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BitMEX case, in which each of the four defendants were sentenced to probation or house arrest.

(Def. Mem. at 23–24) (citing United States v. Hayes, et al., 20 Cr. 500 (JGK)). But those

defendants were not convicted of operating an unlicensed money transmitting business; they

were convicted of willfully violating the Bank Secrecy Act (“BSA”) by failing to implement an

anti-money laundering program. Unlike operation of an unlicensed money transmitting business,

the Sentencing Guideline for a BSA offense, and thus for those defendants, did not take into

account the amount of funds transferred. Compare U.S.S.G. § 2S1.3(a)(1) (base offense level for

violation of Bank Secrecy Act is 8) with U.S.S.G. § 2S1.3(a)(2) (base offense level for operation

of unlicensed money transmitting business is based on the 2B1.1 table). Judge Koeltl specifically

referenced that the sentence he imposed on the lead defendant was driven in part by that lower

Guidelines range and “the government’s choice of the appropriate offense for which it sought an

indictment from the grand jury and is the consequence of the offense to which the defendant

pleaded guilty.” 20 Cr. 500, Dkt. No. 342 at 54. 10 It is perfectly reasonable for the Court to take

into consideration the massive amount of money that flowed through the North Dimension

account as part of Salame’s unlicensed money transmitting offense.

       As Salame himself recognizes, defendants who have engaged in campaign finance

violations have faced meaningful periods of incarceration. Judge Oetken sentenced four

defendants who violated the campaign finance laws to more than a year imprisonment each.

United States v. Fruman (a year and a day), Kukushkin (a year and a day), Correia (a year and a




10
   Most of the other cases the defendant cites are also BSA cases, not unlicensed money
transmitting cases. United States v. Cohen, 22 Cr. 265 (E.D. Pa.) (BSA violation); United States
v. Ofer, 21 Cr. 174 (E.D.N.Y.) (BSA violation and minor role adjustment); United States v.
Fitch, 16 Cr. 123 (S.D. Cal.) (BSA violation); United States v. Panzera, 11 Cr. 591 (E.D.N.Y.)
(BSA violation).


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day), Parnas (twenty months), 19 Cr. 725 (S.D.N.Y.) (JPO). 11 Other courts have also imposed

incarceratory sentences for such crimes. United States v. Pan, 12 Cr. 153 (S.D.N.Y.) (RJS) (4

months’ for straw donor scheme); United States v. Benton, 21 Cr. 569 (D.D.C.) (18 months’ for

illegal foreign contribution and straw donor scheme); United States v. Stockman, 17 Cr. 116

(S.D. Tex.) (120 months’ incarceration for making excessive campaign contributions, wire fraud,

money laundering, and filing false tax returns); United States v. Harber, 14 Cr. 373 (E.D. Va.)

(24 months’ incarceration for making coordinated expenditures and false statements to the FBI);

United States v. Rowland, 14 Cr. 79 (D. Conn. 2015) (30 months’ incarceration); United States v.

Bigica, 12 Cr. 318 (D.N.J.) (60 months’ incarceration for tax violation and conduit scheme

involving $98,600 in illegal contributions); United States v. Braddock, Jr., 12 Cr. 58 (D. Conn.

2013) (38 months’ incarceration for nearly $28,000 conduit scheme).

       The Court’s sentence should also take “under advisement” the defendant’s “efforts to

cooperate, even if those efforts did not yield a Government motion for a downward departure

pursuant to U.S.S.G. § 5K1.1.” United States v. Fernandez, 443 F.3d 19, 33 (2d Cir. 2006),

abrogated on other grounds by Rita v. United States, 551 U.S. 338 (2007). To be clear, the

cooperation at issue here was relatively minor. Salame never entered into a formal cooperation

process as would typically take place for a government witness who testifies at trial pursuant to a

cooperation agreement. The defendant did not himself meet with the Government. Rather,

Salame provided documents, such as text messages and emails, in response to Government

document requests, and authorized his attorneys to make multiple factual proffers to the



11
  Once again, none of these cases are perfectly on point with the defendant: the amount of illegal
funds contributed (in the range of one million dollars) was a small fraction of Salame, Bankman-
Fried, and Singh’s unlawful conspiracy. Parnas and Kukushkin both went to trial, and Parnas and
Correia were both convicted for a separate wire fraud scheme.


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Government. Shortly before trial against Bankman-Fried, the defendant through his attorneys

provided some information as part of brief attorney proffers that focused on Bankman-Fried and

certain FTX lawyers, which assisted the Government’s trial preparation. (Def. Mem. at 28). As

he notes, Salame’s information was the source of some lines of cross-examination, including of

Bankman-Fried related to Bankman-Fried’s transfer of investor funds to Alameda. (Def. Mem. at

28 n.14). 12 None of the information resulted in any significant investigative leads, arrests, or

charges. Some of these disclosures corroborated information the Government already knew or

added additional detail to misconduct of which the Government was already generally aware.

       The Government submits that a below-Guidelines, but still substantial, sentence of five to

seven years’ incarceration would appropriately balance the seriousness of the defendant’s large-

scale crimes, the need for general and specific deterrence, and the need to account for the

defendant’s efforts at cooperation and the sentences imposed on similarly-situated defendants.

V.     The Defendant’s Other Arguments for Leniency Are Not Merited

       The defendant’s requested sentence of 18 months’ is too lenient, and his proffered

reasons for that sentence are inadequate.

       Salame first asserts that the Sentencing Guidelines here are “artificially inflated” because

they combine enhancements from two separate Guidelines provisions. (Def. Mem. at 17). But

that is irrelevant because Salame did in fact commit two separate serious crimes. Moreover, this

argument relies on incorrect calculations. Had Salame been convicted of either offense to which

he pleaded guilty, his Sentencing Guidelines would have been well over the applicable statutory

maximum of each crime, and over the five to seven years the Government is requesting here. See



12
    While the Government otherwise did not know about Bankman-Fried’s statements to Salame,
it had financial evidence about the actual transfers. (GX-1050) (Peter Easton exhibit indicating
that FTX investor funds were co-mingled with Alameda funds and FTX customer deposits).

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U.S.S.G. § 2S1.3(a)(2) (offense level for 1960 violation would be 36 based on more than $1

billion in funds transmitted, with a Guidelines range of 135–168 months’ had he pleaded guilty

without any other enhancements); § 2C1.8 (offense level for campaign finance violation would

be 34 based on more than $100 million in illegal campaign contributions and more than 30

illegal transactions, with a Guidelines range of 108 to 135 months’ had he pleaded guilty).

       Salame’s complaint that he played a merely “ministerial” role in Bankman-Fried and

Singh’s unlawful contributions rings hollow. (Def. Mem. at 22). If the Court were to consider

only his own personal illegal donations, he would still face a Guidelines range exceeding the

statutory maximum for that offense. (GX-1088) (defendant made more than 30 contributions

worth more than $30 million); U.S.S.G. § 2C1.8 (offense level for campaign finance violation

would be 32 based on more than $25 million in illegal contributions and more than 30 illegal

transactions, with a Guidelines range of 87 to 108 months’ had he pleaded guilty). And he played

more than a ministerial role in his co-conspirators’ donations, given that his conduct facilitated

those donations by setting up wire transfers as part of an overarching scheme to further his and

the conspirators’ political agenda across multiple fronts.

       Salame also generally attacks the 2B1.1 Guideline. (Def. Mem. at 19–20). Putting aside

the merits of that attack, in this case, the Guidelines appropriately recognize the plain truth: the

defendant conspired to operate a massive unlicensed money transmitting business, and conspired

to commit one of the largest ever campaign finance offenses in American history. It is only

logical that he should face a lengthier sentence than offenders whose crimes involved

significantly smaller amounts of money, which cause fewer risks to the financial system and a

smaller chance that the unlawful contributions would affect elections and thus distort legislation.




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       Salame repeatedly suggests that FTX attorneys were involved in some of the conduct that

led to his convictions. (Def. Mem. at 7 n.4) (asserting that Salame believed in-house counsel

were responsible for obtaining money transmitting licenses), (Def. Mem. at 8, 9, 16) (asserting

that an attorney incorporated North Dimension and decided what information would be included

in the bank account application), (Def. Mem. at 10) (asserting that Salame made political

donations from funds transferred by Alameda at the attorney’s suggestion and with a loan

agreement drafted by another attorney). To the extent he suggests this is mitigating, however,

that argument should be rejected. Whether Salame knew all of the intricacies of the federal

registration requirements, he does not suggest that any attorney ever advised him or anyone else

that it was legal to set up a shell company to deceive a bank into processing FTX customer

deposits. On the contrary, he admits he knew that Alameda employees relayed false statements to

banks, which could not be blessed by an attorney or anyone else. Similarly, Salame admitted at

his plea that whether a lawyer had been involved in the funds transferred to him to make

campaign contributions, he personally knew the applicable federal election laws, and that he

could not make contributions with corporate funds or straw donations. (Plea Tr. at 22 (“At the

time I knew it was prohibited by campaign finance laws to make contributions in my name with

money that was not my own.”)).

       Finally, Salame relies on his history and characteristics to request a lower sentence. (Def.

Mem. at 25–28). But these arguments do not support the significant downward variance sought

by Salame in light of the specific facts of his crimes. Salame had a “very good childhood,” with

“loving and caring” and supportive parents. (PSR ¶ 73). The PSR and his sentencing letters are

clear that he worked hard in college and thereafter, to get good well-paying jobs in financial

services and then the cryptocurrency industry. While he may have been just 26 when he joined



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Alameda, as this Court knows well, Sam Bankman-Fried was also in his twenties when he began

committing his serious crimes, as were Nishad Singh, Gary Wang, and Caroline Ellison. Salame

should have known enough from his college degrees in accounting and his job at Ernst & Young

to know that what he was doing while working at Alameda and FTX was wrong.

        The defendant also cites his current family role. (Def. Mem. at 26). It is undeniably sad

that the defendant will miss important milestones for his children and stepchildren. But he made

the decision to commit the crimes he was convicted of, and ultimately it was his decision alone

to violate federal law and thus risk separating himself from his family. See, e.g., United States v.

Rioux, 97 F.3d 648, 663 (2d Cir. 1996) (noting that personal factors should ordinarily only

support a downward departure in “extraordinary cases” where multiple factors “combine to

create a situation that differs significantly from the heartland cases covered by the guidelines”).

Undeniably, a substantial period of incarceration will be difficult for Salame’s family. But that is

no different from most other criminal defendants.

        Salame also cites his philanthropy and community service. (Def. Mem. at 26–27). As

described in his sentencing letter, some of his commendable efforts pre-date his employment at

Alameda and FTX. But such acts are not “ordinarily relevant in determining whether a departure

is warranted.” See U.S.S.G. § 5H1.11. That is even more true of his charitable endeavors after he

joined Alameda and FTX, and became, at least on paper, extraordinarily wealthy. See United

States v. Vrdolyak, 593 F.3d 676, 682 (7th Cir. 2010) (“Wealthy people commonly make gifts to

charity. They are to be commended for doing so but should not be allowed to treat charity as a

get-out-of-jail card.”).




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                             FORFEITURE AND RESTITUTION

       The Government has confirmed that, as Salame notes, he has transferred assets to the

FTX bankruptcy that satisfy his restitution obligation in full. (Def. Mem. at 29). Additionally, the

Government and Salame are determining the best means for Salame to pay the total forfeiture

settlement. The Government understands the parties will write the Court to amend the forfeiture

order, including to allow Salame an additional few months to meet his obligations, but

understands from Salame’s counsel that he will be able to do so after this additional period.

                                         CONCLUSION

       In view of the defendant’s serious crimes, the need to achieve specific and general

deterrence, and also taking into account the need to avoid unwarranted sentencing disparities and

his attempted cooperation, Ryan Salame is deserving of a substantial punishment. The Government

respectfully requests that the Court impose a sentence of five to seven years’ incarceration.

Dated: New York, New York
       May 21, 2024


                                              Respectfully submitted,

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